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                              FORTHE DISTRICTOF NEW MEXICO
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LINITEDSTATESOF AMERICA,
                                                                          nilA-fThi tr\ff;; []],-t(liviAfi
               Plaintiff,                                                                            iiL LFli(

       vs.                                                CRIMINALNO. 05-I849JH

MELANIA KIRWIN,

               Defendant.


                                      PLEA AGREEMENI

       Pursuantto Rule 11, Fed. R. Crim. P., the partiesherebynotify the Court of the following

agreementbetweenthe United StatesAttomey for the District of New Mexico, the defendant,

MELANIA KIRWIN, and the defendant'scounsel,JOHN F. MOON SAMORE:

                               REPRESENTATION BY COUNSEL

        l.     The defendantunderstandsher right to be representedby an attorney and is so

represented.The defendanthas thoroughly reviewed all aspectsof this casewith her attorney and

is fully satisfied with that attorney'slegal representation.

                                 RIGHTS OF THE DEFENDANT

       Z.                                    her riehts:
               The defendantfurtherunderstands

               a.      to pleadnot guilty;

               b.      to have a trial by jury;

               c.                                  witnessesand to call witnessesin her
                       to confront and cross-examine
                       defense;and

               d.      againstcompelledself-incrimination.
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                     WAIVER OF RIGHTS AND PLEA OF GUILTY

       3.     The defendanthereby agreesto waive theserights and to plead guilty to Count I

of the SupersedingIndictmentin this casechargingviolation of 21 U.S.C. $ 846, that being

conspiracyto distribute 1000kilogramsand more of marijuana.

                                      SENTENCING

       4.                            that the minimumandmaximumpenaltiesthe Court
              The defendantunderstands

can impose as to Count 1 are:

              a.     imprisonmentfor a period of not lessthan ten (10) yearsnor more than
                     life;

              b.     a fine not to exceedthe greaterof $4,000,000.00or twice the pecuniary
                     gain to the defendantor pecuniaryloss to the victim;

              c.     a mandatoryterm of supervisedreleaseof not lessthan five (5) yearsthat
                     must follow any term of imprisonment(if the defendantservesa term of
                     imprisonment,is then releasedon supervisedrelease,and violatesthe
                     conditionsof supervisedrelease,the defendant'ssupervisedreleasecould
                     be revoked - even on the last day ofthe term - and the defendantcould
                     then be returnedto anotherperiod of incarcerationand a new term of
                     supervisedrelease);

              d.     a mandatoryspecialpenaltyassessment
                                                      of $100.00;and

                     restitution as may be orderedby the Court.

       5.     The defendantunderstandsand agreesthat sentencingwill be pursuantto the

SentencingReform Act of 1984,which requiresthe sentencingCourt to considerapplicable

advisorysentencingguidelinerangesin determiningthe appropriatesentence.

       6.     The partiesstipulateand agreepursuantto Rule l1(c)(lXC), Fed.R. Crim. P., that

the sentenceshall be imprisonmentfor a term of twelve (12) monthsand one day. This

stipulationis conditionedon the defendantmeetingthe requirementsof 18 U.S.C. $ 3553(fX1)-


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(5). If it is determinedthat the defendantdoesnot meetthe requirementsof 18 U.S.C.

$ 3553(0(1)-(5),so that sheis not eligible for a sentencebelow the statutorymandatory

minimum, the defendantmay withdraw her plea of guilty.

       7.     The United Stateshereby expresslyreservesthe right to make known to the

United StatesProbation Office, for inclusion in the presentencereport preparedpursuantto Rule

32,Fed. R. Crim. P., any informationthat the United Statesbelievesmay be helpful to the Court.

                     DEFENDANT'S ADDITIONAL OBLIGATIONS

       8.     The defendantunderstandsher obligationto provide the United StatesProbation

Office with truthful, accurate,and complete information. The defendanthereby representsthat

shehas compliedwith and will continueto comply with this obligation.

                                       FORFEITURE

       9.     The defendantagreesto forfeit, and hereby forfeits, whatever interest shemay

have in any assetderivedfrom or usedin the commissionof the offensein this case. The

defendantagreesto cooperatefully in helping the United States(a) to locate and identiS any

suchassetsand (b) to the extentpossible,to obtainpossessionand/orownershipof all or part of

any such assets. The defendantfuither agreesto cooperatefully in helping the United States

locate, identiff, and obtain possessionand/or ownership of any other assetsabout which the

defendantmay have knowledgethat were derivedfrom or usedin the commissionof offenses

committedby other persons.

                              WAIVER OF APPEAL RIGHTS

       10,    The defendantis awarethat 18 U.S.C.5$ 1291and3742afford a defendantthe

right to appeala conviction and the sentenceimposed. Acknowledging that, the defendant
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knowingly waives the right to appealher conviction and imposition of the sentenceagreedto in

paragraph6 of this plea agreement.

                              GOVERNMENT' S AGREEMENT

       IL      Provided that the defendantfulfills her obligations as set out above,the United

Statesagreesthat it will not bring additional chargesagainstthe defendantarising out of the

defendant'sconduct now known to the United StatesAttorney's Office for the District of New

Mexico,

        12.    This agreementis limited to the United StatesAttomey's Office for the District of

New Mexico and doesnot bind any other federal,state,or local agenciesor prosecuting

authorities.

                                     VOLUNTARY PLEA

       13.     The defendantagreesand representsthat this plea of guilty is freely and

voluntarily made and not the result of force or threatsor of promises apart from those set forth in

this plea agreement.

                           VIOLATION OF PLEA AGREEMENT

       14.     The defendantunderstandsand agreesthat if she violates any provision of this

plea agreement,the United Statesmay declarethis plea agreementnull and void, and the

defendantwill thereafterbe subjectto prosecutionfor any criminal violation including, but not

limited to, any crime(s)or offense(s)containedin or relatedto the SupersedingIndictmentin this

case,as well as perjury, false statement,and obstructionofjustice.




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                            ENTIRETY OF AGREEMENT

       15.   This documentis a completestatement            in thiscaseandmaynot
                                              of the agreement

be alteredunlessdonesoin writing andsignedby all parties.

      AGREEDTOAND SIGNEDthi, 4tday . -of
                                      - _ -E- -Lr,.ra',-i
                                               -___v                  ,2007.


                                               DAVID C. IGLESIAS
                                               UnitedStatesAttorney




                                               JAMES R.W. BRALI'N
                                               vll,'re,

                                               AssistaifUnitedStatesAttorney
                                               201ThirdStreetN.W..Suite900
                                               PostOffrceBox 607
                                               Albuquerque,New Mexico 87102
                                               (s0s)346-1274


                             andcarefullyreviewedeverypartof it with my attorney.
      I havereadthis agreement
understandthe agreementandvoluntarilysignit.




                                                     LANIA KIR
